Case 1:22-cv-06219-NRB Document 1-1 Filed 07/22/22 Page 1 of 7
Case 1:22-cv-06219-NRB Document 1-1 Filed 07/22/22 Page 2 of 7
Case 1:22-cv-06219-NRB Document 1-1 Filed 07/22/22 Page 3 of 7
Case 1:22-cv-06219-NRB Document 1-1 Filed 07/22/22 Page 4 of 7
Case 1:22-cv-06219-NRB Document 1-1 Filed 07/22/22 Page 5 of 7
Case 1:22-cv-06219-NRB Document 1-1 Filed 07/22/22 Page 6 of 7
Case 1:22-cv-06219-NRB Document 1-1 Filed 07/22/22 Page 7 of 7
